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                                                                                                                                       ❑ Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



~. Debtor's name                        Remington Arms Company LLC


2. All other names debtor used
                                        Remington Arms Company, Inc.
   in the last 8 years
    Include any assumed names,
    trade names, and doing business
    as names




s. Debtor's federal Employer           5 1- 0 3 5 0 9 3 5
   Identification Number(EIN)



a. Debtor's address                    Principal place of business                                   Mailing address, if different from principal place
                                                                                                     of business

                                        870 Remington Drive                                           870 Remington Drive
                                       Number          Street                                        Number       Street

                                                                                                      P.O. BOX 7OO
                                                                                                     P.O. Box

                                        Madison                           NC      27025                Madsion                    NC         27025
                                        ;itv                             State     ZIP Code          City                         State      ZIP Code

                                                                                                     Location of principal assets, if different from
                                                                                                     principal place of business
                                        Rockingham County
                                       County
                                                                                                      14 Hoefler Avenue
                                                                                                      Number      Street



                                                                                                       Ilion                      NY             13357
                                                                                                      City                        State          ZIP Code



s. Debtor's website (URL)               None
_.. _      _
                                               Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LlP))
s. Type of debtor
                                        ❑ Partnership (excluding lLP)
                                        ❑ Other. Specify:



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Debtor         Remington Arms Company, LLC                                                      Case number
              Name


                                      A. Check one:
~. Describe debtor's business
                                      ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      ❑ Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                      ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                      ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      ❑ Commodity Broker(as defined in 11 U.S.C. § 101(6))
                                      ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above


                                      B. Check all that apply:

                                      ❑ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § 80a-3)
                                      ❑ Investment advisor (as defined in 15 U.S.C. § SOb-2(a)(11))


                                      C. NAICS (North American industry Classification System)4-digit code that best describes debtor. See
                                         http://www.naics.comisearch/ .
                                          3    3     2       9

a. Under which chapter of the         Check one:
   Bankruptcy Code is the
                                      ❑Chapter 7
   debtor filing?
                                      ❑ Chapter 9
                                         Chapter 11. Check all that apply:
                                                           ❑ Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050(amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                           ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).

                                                           l~ A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201 A) with this form.

                                                           ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                      ❑ Chapter 12

s. Were prior bankruptcy cases        ~ No
   filed by or against the debtor
   within the last 8 years?           ❑Yes. District                                     When                      Case number
                                                                                                MM / pD I YYYY
    if more than 2 cases, attach a
                                                District                                 When                      Case number
    separate list.
                                                                                                MM / DD I YYYY

~o. Are any bankruptcy cases          ❑ No
    pending or being filed by a
    business partner or an               Y2S. Debtor S@e BttaCll@CI IISt                                         _ Relationship
    affiliate of the debtor?                    District                                                           When
                                                                                                                                  MM / DD / YYYY
    List all cases. If more than 1,
    attach a separate list.                     Case number, if known


  Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 2
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  Debtor       Remington Arms Company, LLC                                                 Case number
               Name




  ~~. Why is the case filed in this   Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


  ~2. Does the debtor own or have     I~j No
      possession of any real          ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
      attention?
                                               ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                               ❑ It needs to be physically secured or protected from the weather.

                                               ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                 attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                 assets or other options).

                                               ❑ Other



                                               Where is the property?
                                                                          Number          Street



                                                                          City                                             State       ZIP Code


                                               Is the property insured?
                                               ❑ No
                                               ❑ Yes. Insurance agency _

                                                         Contact name

                                                         Phone



 Statistical and administrative information
-


   ~s. Debtor's estimation of         Check one:
       available funds                  Funds will be available for distribution to unsecured creditors.
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                      ❑   1-49                          ❑ 1,000-5,000                              ❑ 25,001-50,000
   ~a. Estimated number of            ❑   50-99                         I~ 5,001-10,000                            ❑ 50,001-100,000
       creditors
                                      ❑   100-199                       ❑ 10,001-25,000                            Q More than 100,000
                                      ❑   200-999
                                                                                 _..
                                      ❑   $0-$50,000                    ❑   $1,000,001-$10 million                 m   $500,000,001-$1 billion
   ~s. Estimated assets               ❑   $50,001-$100,000              ❑   $10,000,001-$50 million                ❑   $1,000,000,001-$10 billion
                                      ❑   $100,001-$500,000             ❑   $50,000,001-$100 million               ❑   $10,000,000,001-$50 billion
                                      ❑   $500,001-$1 million           ❑   $100,000,001-$500 million              ❑   More than $50 billion




    Official Form 201                       Voluntary Petition for Non-individuals Filing for Bankruptcy                                  page 3
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                                                                                                Case number~,ra.;~,~,~>~.........,_
Debtor        R@I"ttJ.tl-C~-~4n~Lt71S_.~~~-nY LLC              ._

                                        0 $0-S5D,D00                          ❑ ~1,000,0~1-$10million                       ~ $500,000,001-T~1 billion
1s. Estima#ed (iabllities               [j m~~0,001-$100,000                  0X10,000,001-$50 million                      0 $1,CQ0,000,609.510 bEllion
                                        ❑ SiQ0,001-5500,0(SO                  ❑ $~O,000,001-$100 million                    ~ 510,D40,000,001-550 billion
                                        ~ ~5~0,001-51 million                 ❑ 5100,000,001-5500 million                   ❑More than $50 billion




           Request far Relief,¢ectaratio~, and Signafures

                                                                                                          case can result in fines up to
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankrupte;~
           5500,000 or imprisonment fior up to 20 years, or both. 1$ U.S.C. §§ 152, 1311, i 519, and 3571.


                                                                                                                                                   in this
t7. Deciat'ation and signature of        ~    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
    authorized representative of              petition.
    debtor
                                         ~    !have hee~ authorized to fife this petition nn behalf of the debtor.

                                                                                                                                                 is true and
                                         ca   I have examined the information in this petition and have a reasonable helief that the information
                                              correct.


                                         i declare order penalty of perjury that the foregoing is true and correct.

                                              Executed on "~ J'~ ~~~
                                                          MM !DD / YYY

                                                       ~.'"'^`
                                                      _. ~,:            _                        ~.           Stephen P. Jackson, Jr.
                                              Signature of aulhorizsd rapreseniati   -d~6'for                 Panted name


                                              Tice _Chief Fina          a( Officer              .._




~a. Signature of attorney                                                         ~ ~ ~~~%~~—h--'~`~~ate                  ~~ ~ ~_~I f
                                                                                                                           =1—==f-1
                                                 gnat r     attorney for dob.or                                           MNi'I Dfl !YYYY



                                               Laura Davis Jones, Esq.                                                                           ...
                                              Printed namo
                                              Pachuiski Stang Zieh! &Jones LLP
                                              Firm name
                                               91 ~J North Market Street, 17th Ffoor                      _
                                              Number         Streei
                                              V+lilminr~ton                                                            DE             1g$01       ~....__
                                              City                                                               Stato                ZiP Code


                                                          65) 2-410 _                  -_---                      Jones          sz'law.com                          ......_
                                              Contact phone                                                      Email address



                                              2436                                                                        a~.._„--
                                              Bar number                                                          State




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                                           Schedule 1


                Pending Ba~ikruptcy Cases Filed by tiie Debtors in this Court

       On the date hereof, each of the affiliated entities listed below (collectively, the
"Debtors")filed a voluntary petition for relief under chapter 11 of title 11 ofthe United States
Code, 11 U.S.C. §§ 101 et seq., in the United States Bankruptcy Court for the District of
Delaware. Contemporaneously herewith, the Debtors are filing a motion requesting the joint
administration of these chapter 11 cases for procedural purposes only under the case number
assigned to Remington Outdoor Company,Inc.

        1.     Remington Outdoor Company, Inc.

       2.      FGI Holding Company, LLC

        3.     FGI Operating Company, LLC

        4.     Remington Arms Company,LLC

        5.     Barnes Bullets, LLC

        6.     TMRI,Inc.

        7.     32E Productions, LLC

        8.     Advanced Armament Corp., LLC

        9.     Great Outdoors Holdco, LLC

        10.    RA Brands, L.L.C.

        11.     Outdoor Services, LLC

        12.    FGI Finance, Inc.

        13.     Huntsville Holdings LLC
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                                    RESOLUTIONS
                            OF THE MANAGEMENT BOARD OF

                           REMINGTON ARMS COMPANY,LLC

                                         March 20,2018

       The members of the management board (collectively, the "Directors") of REMINGTON
ARMS COMPANY,LLC, a limited liability company organized and existing under the laws of
the State of Delaware (the "Company"), hereby take the following actions and consent to the
adoption of the following preambles and resolutions (these "Resolutions").

       WHEREAS,the Directors of the Company have considered the financial and operational
condition ofthe Company;

       WHEREAS,such Directors have reviewed the historical performance and results of the
Company, the market in which the Company operates, its current and future liquidity needs, its
business prospects, and its current and long-term liabilities;

        WHEREAS,such Directors have reviewed the materials presented by its financial, legal,
and other advisors and have engaged in numerous and extensive discussions (including, without
limitation, with its management and such advisors) regarding, and have had the opportunity to
fully consider, the Company's financial condition, including its liabilities and liquidity position,
the strategic alternatives available to it, and the impact of the foregoing on the Company's
business and operations;

        WHEREAS,the board of directors of Remington Outdoor Company, Inc.("ROC"), the
beneficial owner of the Company, previously approved the form, terms and provisions of, and
the execution, delivery, and performance of, and, on February 11, 2018, ROC entered into, that
certain restructuring support agreement (as amended, restated supplemented or otherwise
modified from time to time in accordance with the terms thereof, the "RSA"), by and among (i)
ROC,(ii) FGI Operating Company, LLC ("FGI Opco"), (iii) the consenting term lenders under
that certain Term Loan Agreement, dated as of April 19, 2012, by and among FGI Opco, as
Borrower, FGI Holding Company LLC, as Holdings, the guarantors and lenders from time to
time party thereto, and Bank of America, N.A., as Agent, and (iv)the consenting holders ofthose
certain 7.875% Senior Secured Notes due 2020 pursuant to that Indenture, dated as of April 19,
2012, between FGI Opco and FGI Finance Inc., as Issuers, the guarantors named therein, and
Wilmington Trust, National Association, as Trustee and Collateral Agent;

        WHEREAS, such Directors have determined that, in furtherance of the RSA, it is
desirable and in the best interests of the Company and its respective creditors, equity holders,
employees and other parties-in-interest that the Company commence solicitation ("Solicitation")
of votes to obtain acceptances of the Joint Prepackaged Chapter 11 Plan of Remington Outdoor
Company, Inc. and its Affiliated Debtors and Debtors in Possession, dated March 22, 2018 (the
"Prepackaged Plan");
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        WHEREAS, such Directors have determined that, in furtherance of the Prepackaged
Plan, it is desirable and in the best interests of the Company and its respective creditors, equity
holders, employees, and other parties-in-interest that the Company file or cause to be filed a
voluntary petition (a "Voluntar_y Petition") for relief under the provisions of chapter 11 of title 11
of the United States Code (the "Bankruptcy Code");

       WHEREAS,the Company is the sole member of Great Outdoors Holdco, LLC ("Great
Outdoors");

        WHEREAS, such Directors deem it advisable and in the best interests of the Company
and its respective creditors, equity holders, employees and other parties-in interest that Great
Outdoors file or cause to be filed a voluntary petition for relief under the Bankruptcy Code;

         WHEREAS, such Directors have been presented with those certain Resolutions of the
Sole Member of Great Outdoors (the "Sole Member Resolutions"), pursuant to which, among
other things, the Company, as sole member of Great Outdoors, would authorize Great Outdoors
to file a voluntary petition for relief under the Bankruptcy Code and appoint Stephen P. Jackson
as Chief Financial Officer of Great Outdoors; and

       WHEREAS, such Directors have deemed it advisable and in the best interests of the
Company for the Company to adopt the Sole Member Resolutions as sole member of Great
Outdoors.

                                            Solicitation

        BE IT RESOLVED that the Directors have determined that it is advisable and in the
best interests of the Company that the Company commence Solicitation;

       BE IT FURTHER RESOLVED that the senior officers of the Company (together, the
"Authorized Officers"), be, and each of them hereby is, authorized, empowered and directed to
take any and all action and perform any and all further deeds that they deem necessary or proper
to commence Solicitation;

                                         Chanter 11 Case

       BE IT FURTHER RESOLVED that Directors have determined that it is advisable and
in the best interests of the Company that the Company file, or cause to be filed, a Voluntary
Petition commencing the Chapter 11 Case (as defined below);

       BE IT FURTHER RESOLVED that the Authorized Officers, be, and each of them
hereby is, authorized, empowered, and directed to execute and file, or cause to be filed, with the
bankruptcy court, for the Company, all petitions, schedules, lists, motions, applications,
pleadings, and any other necessary papers or documents, including any amendments thereto, and
to take any and all action and perform any and all further deeds that they deem necessary or
proper to obtain chapter 11 bankruptcy relief or in connection with the chapter 11 case of the
Company (the "Chapter 11 Case"), with a view to the successful prosecution of such Chapter 11
Case;


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                                 Debtor in Possession Financing

        BE IT FURTHER RESOLVED that, the Authorized Officers, and any employees or
agents (including counsel) designated by or directed by any such officers, be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,to, if
the Authorized Officers determine it to be necessary or appropriate, enter into senior, secured,
super-priority debtor in possession credit facilities, including the credit facilities contemplated by
(a)the "Term Sheet" attached as Exhibit A to that certain Commitment Letter, dated as of March
8, 2018, by and among FGI Opco and the lenders party thereto, and (b)that certain "$193 million
DIP and Exit ABL Revolver Summary of Indicative Principal Terms and Conditions", dated on
or about the date hereof, by and among FGI Opco and the lenders party thereto, in each case, in
substantially the form as presented to the Directors (the "DIP Credit Facilities"), and any related
documents or instruments, each on terms and conditions agreed to by the Company, the lender
and the agent and such other terms as are customary for similar debtor-in-possession facilities
and to cause the Company to grant a senior security interest in substantially all of its assets in
connection therewith, and to undertake any and all related transactions contemplated thereby;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,to, if
the Authorized Officers determine it to be necessary or appropriate, cause to be prepared, to
negotiate, execute, and deliver, and the Company is hereby authorized to perform its obligations
and take the actions contemplated under, the DIP Credit Facilities and such other documents,
agreements, guaranties, instruments, financing statements, notices, undertakings, certificates, and
other writings as may be required by, contemplated by, or in furtherance of the DIP Credit
Facilities, each containing such provisions, terms, conditions, covenants, warranties, and
representations as may be deemed necessary or appropriate by the Authorized Officers, and any
amendments, restatements, amendments and restatements, supplements, or other modifications
thereto, in each case with such changes therein and additions thereto (substantial or otherwise) as
shall be deemed necessary, appropriate, or advisable by any Authorized Officer executing the
same in the name and on behalf of the Company, such approval to be evidenced conclusively by
such execution;

        BE IT FURTHER RESOLVED that the Company, as debtor and debtor in possession
under the Bankruptcy Code, be authorized, empowered, and directed to negotiate and obtain the
use of cash collateral or other similar arrangements, including, without limitation, to enter into
any guarantees and to pledge and grant liens on and claims against the Company's assets as may
be contemplated by or required under the terms of cash collateral agreements or other similar
arrangements, in such amounts as is reasonably necessary for the continuing conduct of the
affairs of the Company in the Chapter 11 Case and any of the Company's affiliates who may
also, concurrently with the Company's petition, file for relief under the Bankruptcy Code;

         BE IT FURTHER RESOLVED that the Company will receive substantial direct and
indirect benefits from the loans and other financial accommodations to be made under the DIP
Credit Facilities to the Company and its affiliates;

                                       Retention of Advisors



                                                  3
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        B~ IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the law firm of Milbank, Tweed,
Hadley & McCloy LLP as general bankruptcy counsel to represent and advise the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance its
rights and obligations, including filing any pleadings in connection with the Chapter 11 Case and
with any post-petition financing; and in connection therewith, the Authorized.Officers are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon filing of the Chapter 11 Case, and cause to
be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of Milbank, Tweed, Hadley & McCloy LLP;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Pachulski, Stang, Ziehl &
Jones LLP as local counsel to represent and advise the Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Pachulski, Stang, Ziehl &Jones LLP;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Lazard Freres & Co. LLC
as investment banker to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Lazard Freres & Co. LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized,. empowered, and directed to employ the firm of Alvarez & Marsal North
America, LLC as financial advisor to represent and assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance its rights and obligations
in connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and.filed an appropriate application with
the bankruptcy court for authority to retain the services of Alvarez & Marsal North America,
LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Prime Clerk LLC as
notice, claims, and balloting agent to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, the Authorized Officers are hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
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prior to and immediately upon the filing of the Chapter 11 Case, and cause to be executed and
filed an appropriate application with the bankruptcy court for authority to retain the services of
Prime Clerk LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ any other professionals, including
attorneys, accountants, and tax advisors, necessary to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, the Authorized Officers are
hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to or immediately upon the filing of the Chapter 11 Case, and cause to
be executed and filed appropriate applications with the bankruptcy court for authority to retain
the services of any other professionals, as necessary;

                                   Sole Member Resolutions

       BE IT FURTHER RESOLVED that the form, terms and provisions of the Sole Member
Resolutions, substantially in the form presented to the Directors, the transactions contemplated
thereby and the adoption of the Sole Member Resolutions by the Company, be, and hereby are,
approved, ratified and confirmed in all respects;

                             Other• Authorization and Ratification

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
prosecute the Chapter 11 Case in a manner that in their business judgment is likely to maximize
the recovery for stakeholders in the Company and minimize the obligations incurred by the
Company, and to prepare and adopt the Sole Member Resolutions;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
cause the Company to enter into, execute, deliver, certify, file, and/or record and perform such
agreements, instruments, motions, affidavits, applications for approvals or ruling of
governmental or regulatory authorities, certificates or other documents, and to take such other
action, as in the judgment of such officer shall be or become necessary, proper, and desirable to
adopt the Sole Member Resolutions and prosecute to a successful completion the Chapter 11
Case, including, but not limited to, implementing the foregoing Resolutions and the transactions
contemplated by these Resolutions;

        BE IT FURTHER RESOLVED that Authorized Officers be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
supplement, or otherwise modify from time to time the terms of any documents, certificates,
instruments, agreements, or other writings referred to in the foregoing Resolutions; and

        BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name and on behalf of the
Company, which acts would have been approved by the foregoing Resolutions except that such
acts were taken before these Resolutions were certified, are hereby in all respects approved and
ratified.
                                                E
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sai~~c, c~z~ be~laJf «f't1~c; C~c~~nl~~t~i~y.

         2.       Att~ic}_leci 11ex•ett~ i5 a true atld..ct7r-~ect copy-af the res~lutions cif f}~e Nl~f~~bemer~t
E3c~ard oi'~he Cc~iill.~aily {tl~c `:~3a~ird"), tivitli.t~~7t exhibits, citily~ acle~pfiecl at a meeting ~f the Bc~aa-ci c~~~
blarcl~ ~~,?Ot $.

         a.       S~rch resoltltion~ l~a:v~ riot been am.ctid~ct, altered, anil~~llec~, i•esci~ldeci, ~r. rev~keti,
and ax~~ iu fiill f'o.rc~; a~~d efF~:ct as c>f' T3~e d~Y.e liere~t. "There; exists iia o~~I~~r sul~set~~rex~t resolution
o~f the hoard ~•el~~tira~ tc~ tl~e znatte.rs set ~'<~rtl~ iii the re~ol~itions ~ttacl~ed hereto,

          I~1 «~`C'l,~`F:.~~ L~'H~;itEOF, t11~ unciet~si~;necl has.e~~cuted this G~;rtificate as of` tlae date
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                                                                    1~1ame: Ste~~hen I': JaLicsa~,
                                                                    "title; Clai~t'Fia~az~cial C~fficer~`"`~~
                   Debtor name: Remington Outdoor Company, Inc., et al.                                                                                                                   ❑Check if this is an amended filing
                   United States Bankruptcy Court for the: District of Delaware
                   Case number (if known):
                 Official Form 204
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Lamest Unsecured Claims and Are Not Insiders                                                                                             12/15
                 A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or
Page 12 of 21




                 entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
                 creditor among the holders of the 30 largest unsecured claims.l
                                                      i; ~   1 :.        ~ ~,~~                                                                           it1:€'3   1r~, tc~l~,
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Filed 03/25/18




                                                                                                                                                          I claim, if partially   ju~duction fr~r v~i~ir ~l~ns~cured Claim
                                                                                                                                                          red                     bf rc~!lateral or setoff
                                                             PENSION BENEFIT GUARANTY
                       ENSIGN BENEFIT GUARANTY               CORPORATION, OFFICE OF THE
                       ORPORATION -OFFICE OF THE             GENERAL COUNSEL
                       ENERAL COUNSEL                        PHONE: 202-326-4020 x4635                  Sion Liability            Contingent,                                                                Undetermined
                       200 K STREET, N.W.                    FAX: 202-326-4112                                                    Unliquidated
                       lASHINGTON, DC 20005-4026
Doc 1




                                                             EMAIL:
                                                             Neureiter.Kimberly@pb~c.~ov
                       HE MARLIN FIREARMS                    THE MARLIN FIREARMS
                       OMPANY EMPLOYEES'                     COMPANY EMPLOYEES.'
Case 18-10687




                       ENSIGN PLAN                           PENSION PLAN
                       /O MASSMUTUAL                         C/O MASSMUTUAL                          ension Liability             Contingent,                                                                Undetermined
                       TTN: NANCY HOULE
                                                             PHONE: 800-309-353,                                                  Unliquidated
                       .O. BOX 219035 MIP M227
                                                             x2-2139
                       ANSAS CITY, MO 64121-9035
                                                             FAX: XXX-XX-XXXX
                                                             EMAIL:
                       CO-BAT INDIANA LLC                    ECO-BAT INDIANA LLC
                       TTN: MIKE PARKER, SALES               ATTN: MIKE PARKER,
                       1ANAGER PO BOX 846010                 SALES MANAGER                               e                                                                                                   $3,106,870.14
                       ALLAS, TX 75284-6010                  PHONE: 214-582-0295
                                                             FAX: 214-831-4013
                                                             EMAIL:
                                                             ecobat.uk@ecobatgroup.com
                 1 This list does not include the agents for the Debtors' prepetition credit facilities or the indenture trustee for the Debtors' third lien notes as those entities' respective claims are secured by liens on
                 and/or security interests in the Debtors' assets.
                 Debtor: Remington Outdoor Company, Inc., et al.
Page 13 of 21




                                                                                                                                                         $1,376,973.80
                                                 EMAIL:
                                                 stephen.fa intich @gd-ots.co m
                     THE DOE RUN COMPANY         THE DOE RUN COMPANY
                     ATfN: DEB MEDLEY            ATTN: DEB MEDLEY
                 5   75 REMITI-ANCE DRIVE, SUITE PHONE:314-453-7115             Trade                                                                    $1,331,527.86
Filed 03/25/18




                     2172 CHICAGO, IL 60675-2172 FAX: 314-453-7189
                                                 EMAIL: ceo@doerun.com
                     LUVATA KENOSHA INC          LUVATA KENOSHA INC
                     ATTN: ANDREW STEVENS, MGR AnN: ANDREW STEVENS, MGR
                 6   MKT DEV                     MKT DEV                        Trade                                                                     $928,021.49
                     PO Box 200498               PHONE: 920-540-5970
                     PITf56URGH, PA 15251-0498   FAX: 920-749-3850
                                                 EMAIL: andy.stevens@luvata.com
                                                 GEODIS LOGISTICS LLC
Doc 1




                      GEODIS LOGISTICS LLC
                      ATI"N: VIVIAN HARRIS, A/R  ANN: VIVIAN HARRIS, A/R
                 7    MANAGER                    MANAGER                        Trade.                                                                    $895,514.30
                      15604 COLLECTION CENTER    PHONE: 615-880-4865
                      DRIVE                      FAX: 615-377-3977
Case 18-10687




                      CHICAGO, IL 60693          EMAIL: vharris@ohl.com
                                                        ART GUILD INC
                      RT GUILD INC
                                                       ATTN: BERNADETTE SANDONE,
                      TfN: BERNADETfE SAN DONE,
                                                       AR MANAGER
                 8    R MANAGER                                                            Marketing Services                                             $894,069.05
                                                       PHONE: 856-853-7500
                     300 WOLF DRIVE WEST
                                                       FAX: 856-686-4184
                     DEPTFORD, NJ 08086
                                                        EMAIL:
                                                        bsandone@artguildinc.com
                     MICROBEST INC                      MICROBEST INC
                     670 CAPTAIN NEVILLE DR             PHONE: 203-597-0355
                                                        FAX:203-597-0655              Trade                                                               $773,300.75
                 9   WATERBURY,CT06705
                                                        EMAIL: maltber~@microbest.com
                 Official Form 204                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims            Page 2
                 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                         Case number (if known)
                 ~4ar~e „ _       ~      ~;   i            ~ r   ,I    ~ ~         cph~nc number             IV<)iure ~~ t~~       ~ 1~ ~ .     ~~           ~   ~~___n
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Page 14 of 21




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                    PMX INDUSTRIES INC CHICAGO PMX INDUSTRIES INC CHICAGO
                     TTN: JOE TALLERICO        ANN:JOE TALLERICO
                 10 5300 WILLOW CREEK DR SW    PHONE: 319-298-1339                                           Trade'                                                                                                                                $720,189.42
                    CEDAR RAPIDS, IA 52404     FAX: 319-368-7721
                                               EMAIL: joe.tallerico@ipmx.com
                     TEPHEN GOULD              STEPHEN GOULD CORPORATION
                    CORPORATION                ATTN: CHANTEL REDMOND
                 11  TTN: CHANTEL REDMOND      PHONE: 973-428-1500                                           Trade                                                                                                                                 $645,476.66
Filed 03/25/18




                    1408-C ROSENEATH ROAD      FAX: 804-217-9046
                    RICHMOND, VA 23230         EMAIL:
                                               blvollmer@stephengould.com
                                                                      PRIORITY PACKAGING WET'N
                    PRIORITY PACKAGING WET'N                          DRY LUBES INC.
                 12 DRY LUBES INC.                                                                Trade                                                                                                                                            $563,002.51
                                                                      PHONE: 843-936-1660
                    3260 INDUSTRY DRIVE, UNIT 5
                                                                      FAX: 843-969-1661
                    N. CHARLESTON, SC 29418
                                                                      EMAIL:
Doc 1




                                                                      wwn~r~upnonrypacKagmg.com
                    MAGPUL INDUSTRIES CORP                            MAGPUL INDUSTRIES CORP
                    ATTN: DOUG SMITH                                  ATfN: DOUG SMITH -OPERATION
                 13 OPERATION MGR                                     MGR PHONE: 303-828-3460     Trade                                                                                                                                            $540,813.25
Case 18-10687




                    PO BOX 664017                                     FAX: 303-828-3469
                    DALLAS, TX 75266-4017                             EMAIL: doug@magpul.com
                    GENERAL DYNAMICS                                  GENERAL DYNAMICS
                    ATTN: SUZIE TAILLEFER                             ATTN: SUZIE TAILLEFER
                 14 55, RUE MASSON                                    PHONE: 450-377-7835                    Trade                                                                                                                                 $469,669.88
                    VALLEYFIELD, OC J6S 4VP                           FAX: 450-377-7800
                    Canada                                            EMAIL:
                                                                      suzie.taiilefer@can.gd-ots.com
                      A M CASTLE & CO /CASTLE                         A M CASTLE & CO /CASTLE
                      METALS                                          METALS
                 15   11125 METROMONT PARKWAY                         PHONE: 847-349-3851                    Trade                                                                                                                                 $454,578.78
                      CHARLOTTE, NC 28269                             FAX: 716-748-7788
                                                                      EMAIL: jkanute@amcastle.com
                 Official Form 204                                         Chapter it or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                           Page 3
                 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                                Case number (if known)
                 ~Name o~f e.~.rcdiT ,:~            ~~ r ; , ~ ~,i.; ~ ; ~t~mc, telcpE~onc nurtiE>er, end         IN,7tur~ r,f C~   ', r {i r            c ~ ~. f .- ,:~ ~;          , r : ~~ : ~:E~secur~d ei~im
                 adeir€ gas ir~FlEiti i ~,.. _.. ,~ _                    ~.>Eai~ii ~r]drn,~ of cr~rliCnrcnntac~   Er:x~t~~pia tr a , a,_:,t                 a ~ ~ ~                    „~ l~ ui is ~irl~y un~eCurnd, Eitl in c~E~iy unsecured Claim amounfi, l~
                                                                    ',                                              ink lr.,,                            ,s , ~ -~t~                f~ ~ ~~ ~ ~ ;scared,fist i.i tzstal claim ~cnount ~;~d deduction fai
                 ?                                                  ',                                            .Jr~                r~   [ ~-;_,,,,        i r ,t~ ~            ~1~~~~~j~                  ''.;'   5~1C,~~~iU C31CU Ca~~ L7 Yt5~!'17ft'f{~~~iYrl.
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Page 15 of 21




                    OZARK DIE CASTING                                    OZARK DIE CASTING
                    ATTN: GARY LAND 1005                                 ATfN: GARY LAND
                 16 LOFTING IND DR                                       PHONE: 636-6Z9-4244                      Trade                                                                                                                                      $441,319.08
                    SAINT CLAIR, MO 63077                                FAX: 636-629-2153
                                                                         EMAIL: ozarkdie@sbcgiobal.net
                                                                         NATIONWIDE PRECISION
                    NATIONWIDE PRECISION                                 PRODUCTS CORP
                    PRODUCTS CORP
                                                                         Attn: Dan Nash -CEO
Filed 03/25/18




                 17 Attn: Dan Nash -CEO                                                                           Trade                                                                                                                                      $437,939.33
                                                                         PHONE: 224-419-6055
                    PO BOX 842324
                                                                         FAX: 585-272-5982
                    BOSTON, MA 02284-2384
                                                                         EMAIL:
                                                                         dan.nash@hnprecision.com
                                                                         BRUDERER MACHINERY INC
                       BRUDERER MACHINERY INC                            ATTN: DONNA KOTERBA
                       ATTN: DONNA KOTERBA
                 18    1200 HENDRICKS CAUSEWAY                           PHONE: 201-941-2121                      Trade                                                                                                                                      $432,592.50
                                                                         FAX: 201-886-2010
Doc 1




                       RIDGEFIELD, NJ 07657
                                                                         EMAIL:
                                                                         dkoterba@brudereramericas.com
                       GERDAU MAC STEEL                                  GERDAU MAC STEEL
                        ATTN: R A. MONTGOMERY                            ATTN: R A. MONTGOMERY LORI
Case 18-10687




                 19     LORI STROKO                                      STROKO                                   Trade                                                                                                                                      $421,153.38
                                                                         PHONE: 330-382-1084
                       25654 NETWORK PLACE
                                                                         FAX: 517-782-8736
                       CHICAGO ,IL 60673
                                                                         EMAIL:
                    PRECISIONMATICS CO INC                               PRECISIONMATICS CO INC
                    ATfN: CINDY                                          ATTN: CINDY
                 20 675 US HIGHWAY 20 WEST                               PHONE: 315-822-6324                      Trade                                                                                                                                      $388,620.62
                        WINFIEID, NY 13491                               FAX: 315-822-6944
                                                                         EMAIL:
                                                                         cindyk@precisionmatics.com
                    SWANSON MARTIN &BELL                                 SWANSON MARTIN &BELL
                    ATfN: BRIAN W. BELL                                  ANN: BRIAN W. BELL
                 21 330 NORTH WABASH AVE                                 PHONE: 312-321-9100                      Legal Counsel                                                                                                                              $387,023.30
                    STE 3300                                             FAX: 312-321-0990
                    CHICAGO, IL 60611                                    EMAIL: bbell@smbtrials.com
                 Official Form 204                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                               Page 4
                 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                     Case number (if known)
                 hlan~eofcredit~i ;~ndCQriipl   ~~.~ -;~,~ ~Uarne, t~3Pphnr~e r~uir€7er, ar~std';     r1,RYureo                              — —,;;.~ ~nscc~,re              ai~n
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                                                                                                                                                 ~tal claim, if partially     Deduction for value Unsecured Claim
                                                  ~       ~:                 _ _       _:                                                                                      f cotlate~ al or setoff
Page 16 of 21




                      DECIMETSALES INC              DECIMETSALES INC
                      ATTN: BUTCH ANDERSON         ATTN: BUTCH ANDERSON
                 22   14200 JAM ES ROAD            PHONE: 763-428-4321           Trade                                                                                                                         $371,396.20
                      ROGERS, MN 55374              FAX: 763-428-8285
                                                   EMAIL: info@dsimn.com
                      DANA SOTO, ET AL.             DANA SOTO, ET AL.
                      C/O KOSKOFF KOSKOFF &        C/O KOSKOFF KOSKaFF & BIEDER,
                                                    p,~.                         Litigation                                Contingent,                                                                       Undetermined
                 Z3   BIEDER, P.C.
                                                                                                                           Unliquidated,
Filed 03/25/18




                      ATTN: JOSHUA D. KOSKOFF      PHONE: 203-583-8634
                                                                                                                           Disputed
                      350 FAIRFIELD AVENUE          FAX: 203-368-3244
                      BRIDGEPORT, CT 06604          EMAIL:
                      IAN POLLARD, ET AL.          IAN POLLARD, ET AL.
                      C/O BOLEN, ROBINSON & ELLIS, C/O BOLEN, ROBINSON & ELLIS,
                                                                                                                           Contingent,
                      LLP                           LLP                          Litigation
                 24                                                                                                        Unliquidated,                                                                     Undetermined
                      ATl"N: JON D. ROBINSON        'HONE: 217-429-4296
                                                                                                                           Disputed
                      202 SOUTH FRANKLIN             AX: 217-329-0034
                      2ND FLOOR                     :MAIL:
Doc 1




                      DECATUR, IL 62523              ROBINSON@BRELAW.COM
                      ROBERT ZICK                    tOBERT ZICK
                      C/O MONSEES & MAYER, P.C.     ./O MONSEES & MAYER, P.C.
                                                                                 Litigation                                Contingent,
                      ATTN: TIMOTHY MONSEES         'HONE: 816-470-0013
Case 18-10687




                 z5                                                                                                        Unliquidated,                                                                     Undetermined
                      4717 GRAND AVENUE              AX: 816-361-5577
                                                                                                                           Disputed
                      SUITE 820                     :MAIL:
                      KANSAS CITY, MO 64112
                      JON BAITS                      ON BAITS
                      C/O RAD LAW FIRM, P.C.         :/O RAD LAW FIRM, P.C.
                                                                                 Litigation                                Contingent,
                      ATTN: ROBERT M. MEADOR        'HONE: 972-661-1111                                                                                                                                      Undetermined
                 26                                                                                                        Unliquidated,
                      8001 JB1 FREEWAY, SUITE 300    AX: 972-354-5651
                                                                                                                           Disputed
                      DALLAS, TX 75251                MAIL:
                                                      FILERM@RADLAWFIRM.COM
                 Official Form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who,Have the 30 Largest Unsecured Claims                                                                 Page 5
                 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                   Case number (if known)
                 +tame ~#~r~dilnr ~ncl ~otn~     ~ ~   I~ ~.   -1 ;ie, tr~€:phone n>>n~~Lr, arlc€         t~~~ture of'C ~ ~ ~ ~ ~<{~.    ~~~
                                                                                                                                           ~~°„ - ~                            . ;~r~~ ;,~ .,x~securc~ri r1,=~irn
                 addrr~~. 3nrEurJ~n~'rip ~.ade                    ~,~i arl~iret~ ~f c~E•dri~r ~ca~~tact   ~r~n~p3e> tt ~ ~ :,.              .. ,: ~„~°rsS,                G. t ,~ _:i: r ~ ~ fsilEuasEasec~~rcd, fiU ~z3 r~azl} unsccur~d cl~im'arr~oU~`~i. if
                                                                                                          ~~7E"1~£ ~01t35',                     at ~'t~~f _~ -C~~,, •~f    ~ . ;;i 3 ; i" .li; -     i fEd;'f3~1 3H ~C1~~~ CE~7~f3~ ~t~3ts7i~i33Y.~iitCl~GC~t1C"~4tati -~qY
                                                                                                          j3f'C3~t':SS1LYi1<   c   _..          ~i ~'~r~r~                 .3,.: -. ~   ,T ~..v..a      `1.f~~{ [t.3 t;~ICU~~7~C UI15~CUYCCI CI1it11~
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                                                                                                                                                                          ~'~tai claim, if ~artiaily        Decit~ction for value Unsecured Claim
                                                                                                                                                                          secured                            f co#I~teral or setoff
Page 17 of 21




                    SAMUELJOHNSON                 SAMUELIOHNSON
                    THE LAW OFFICE OF DANIEL D. THE LAW OFFICE OF DANIEL D.
                                                                            Litigation
                    GOROWITZ, III, P.C.           GOROWITZ, III, P.C.
                                                                                                                                                  Contingent,                                                                                    Undetermined
                 Z~ ATTN: DANIEL D. HOROWITZ      PHONE: 832-460-5181
                                                                                                                                                  Unliquidated,
                    2100 TRAVIS STREET, SUITE 280 FAX: 832-266-1478
                                                                                                                                                  Disputed
                    HOUSTON,TX 77002              EMAIL:
                                                  DANIEL@DDHLAWERS.COM
                    ANTHONY GARNElT               ANTHONY GARNETT
Filed 03/25/18




                    C/O O'CONOR, MASON &          C/O O'CONOR, MASON &BONE,
                    BONE, P.C.                    P.C.
                                                                                                                                                  Contingent,
                 28 ATTN: JESS W. MASON, ROBERT PHONE: 713-647-7511
                                                                            Litigation                                                            Unl,iquidated,                                                                                 Undetermined
                    D. O'CONOR & J. KEVIN RALEY FAX: 713-647-7512                                                                                'Disputed
                    1616 S. VOSS ST., SUITE 200   EMAIL:
                    HOUSTON,TX 77057              JMASON@OMBTXLAW.COM;
                                                  BOCONOR@OMBTXLAW.COM;
                                                  KRALEY@OMBTXLAW.COM
Doc 1




                    MICHELLE LEFEBRE                           MICHELLE LEFEBRE                                                                   Contingent,
                    LEONARD A. SIUDARA PC                      LEONARD A. SIUDARA PC                                                              Unliquidated,
                 29 ATTN: LEONARD A. SIUDARA                   PHONE: 248-417-7300                        Litigation                              Disputed                                                                                       Undetermined
                    5865 ANDOVER CT                            FAX: 248-641-8141
Case 18-10687




                    TROY, MI 48098                             EMAIL: BUDATLAW@MSN.COM
                    PRECIOUS SEGUIN                            PRECIOUS SEGUIN
                    C/O MONSEES & MAYER, P.C.                  C/O MONSEES & MAYER, P.C.                                                                                                                                                         Undetermined
                 30 ATTN: TIMOTHY MONSEES                                                                                                         Contingent,
                                                               PHONE: 816-470-0013                        Litigation
                                                                                                                                                  Unliquidated,
                    4717 GRAND AVENUE                          FAX: 816-361-5577
                                                                                                                                                  Disputed
                    SUITE 820                                  EMAIL:
                    KANSAS CITY, MO 64112
                 Official Form 204                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                   Page 6
                      Case 18-10687          Doc 1       Filed 03/25/18      Page 18 of 21




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

         ------------------------------------------------------   x

In re:                                                                Chapter 11

REMINGTON ARMS COMPANY,LLC,                                           Case No. 18-            (~




         Debtor.
-------------------------------------------------------------     x

                              CERTIFICATION OF CREDITOR lYIATRIX

               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
and its affiliated debtors in possession (collectively, the "Debtors")1 hereby certify that the
CNeditor Matrix submitted herewith contains the names and addresses of the Debtors' creditors.
To the best of the Debtors' knowledge, the CNeditoN Matrix is complete, correct, and consistent
with the Debtors' books and records.

               The inforrnation contained herein is based upon a review of the Debtors' books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the CNedztor MatNix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims;(2) an acknowledgement of the allowability of
any listed claims; and/or(3) a waiver of any other right or legal position of the Debtors.




' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc.(4491); FGI Holding Company, LLC(9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC(0935); Barnes Bullets, LLC (8510); TMRI,
Inc.(3522); RA Brands, L.L.C.(1477); FGI Finance, Inc.(0109); Remuigton Arms Distribution Company,LLC
(4655); Huntsville Holdings LLC(3525); 32E Productions, LLC(2381); Great Outdoors Holdco, LLC (7744); and
Outdoor Services, LLC (2405). The principal offices of Debtor Remington Outdoor Company Inc., the top-level
holding company, are located at 870 Remington Drive, Madison, NC 27025.
                    Case 18-10687         Doc 1     Filed 03/25/18      Page 19 of 21



                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------- X

In re:                                                         Chapter 11

REMINGTON ARMS COMPANY,LLC,                                    Case No. 18-              O

                                  Debtor.

---------------------------------------------------------- X


                           CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following is a list of any corporation, other than a governmental unit, that directly or

indirectly owns 10% or more of any class of equity interests in the above-captioned debtor.


  --     I?el~tor                   l~~re+~t o~~~tte~•(s)                     Itt~3~rect v«~~terf~)

Remington Arms             PGI Operating Company, LLC              FGI Holding Company, LLC
Company,LLC                870 Remington Drive                     870 Remington Drive
                           P.O. Box 700                            P.O. Box 700
                           Madison, NC 27025                       Madison, NC 27025

                                                                   Remington Outdoor Company, Inc.
                                                                   870 Remington Drive
                                                                   P.O. Box 700
                                                                   Madison, NC 27025

                                                                   R2 Holdings, LLC
                                                                   875 Third Avenue, 14th Floor
                                                                   New York, NY 10022
                   Case 18-10687           Doc 1       Filed 03/25/18   Page 20 of 21



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

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In re:                                                         Chapter 11

REMINGTON ARMS COMPANY,LLC,                                    Case No. 18-         O

                                   Debtor

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                              LIST OF EQUITY SECURITY HOLDERS

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
is a list of entities holding an interest in the above-captioned debtor.

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                  13usit~~s~ at I~~tt~er                         int~~•~;st Hein          ~~eld

  FGI Operating Company,LLC
                                                                  Membership
  870 Remington Drive, P.O. Box 700, Madison,                                             100%
                                                                    Interest
  NC 27025
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 Debtor Name    Remington Arms Company_LLC __,_.,
 Unite<4 States Bankruptcy Court for lhe:                          o~su~~~ or Delaware
                                                                             (State>T
 Case number (~Ixnown):




Official Form 202

An individual +arho is authorized to act on behalf of a non•individuai debtor, such as e corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is nat included in the document,
and any amendments of those documents. This €orm must state the i~dividuaPs position or relationship to the debtor,the identity of the
document, and the date, Bankruptcy Rules 1008 and 9011..

WARNING -Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or o4~taining money or property by fi'aud in
connection with a bankruptcy case can result M fines up to $500,000 or imprisonment for up to 20 years, or both, 48 U.S.C. §§ 152, 1341,
1519, and 3571.



             DeciAration and siynatur+¢



          am the president, another o~cer, or an authorized agent of[he corporation; a member or an authorized agent of the partnership; or
         anothRr individual serving as a representative of the debtor in this case.

          have examined the information in the documents checked helow and I have a reasonable belief that the information is true and correct:


               SchedulQ A/8; Assets-Real and Personal Property (Official Form 206A/B)

         ❑     Schodule D: Credrtcis Who Have Claims Secured by Property (Official Form 206D)

               Scheciufe E/F: Creditors Who Have Unsecured Cfarn~s (Official Form 20fE1F)

               Schedule G:Executory Contracts and Unexpired Leases (Official Form 206G)

        0 Schedule N: Codebtors (t3f(iciai Form 206H)

         ❑ Summary o(Assets and Liabilities for Non-Individuals (Official Fnrm 206Sum)

         ❑ Amended Sehedulo

               Chapter 1't or Chapter 9 Cases: ConsolidateG List of Creditors Who Nave the 30 ZargQst UnsQcured Claims and Aye Nat Insiders(O~ciai Form
                204)
         ~ other aocument that rec~u~res a deciaraaan List of Equity Security Holders Corporate Ownership_ Statement,                         _...__.._
                                                      Certification of Creditor Matrix



          declare under penalty of perjury that the foregoing is true and correct.
                                                                            -~.


         Exocuted on ~        ~        I                       ~_«_~,~                                                                  ----
                     tvl~i / b0 t YYYY                          Signature of individual signing on behalf     ebto


                                                                                                            ti.w
                                                                Stephen P. Jackson, Jr.
                                                                Printed namo

                                                                 C~~ief Financial Officer
                                                                Position or telaVonship to debtor



O~cial Form 202                             Declaration Under Penalty of Perjury for Hon-tndividuaf Debtors
